Case 21-16520-JNP   Doc 521    Filed 05/19/22 Entered 05/19/22 16:26:03        Desc Main
                              Document     Page 1 of 35




                                                         Order Filed on May 19, 2022
                                                         by Clerk
                                                         U.S. Bankruptcy Court
                                                         District of New Jersey




  DATED: May 19, 2022
Case 21-16520-JNP   Doc 521    Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                              Document     Page 2 of 35
Case 21-16520-JNP   Doc 521    Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                              Document     Page 3 of 35
Case 21-16520-JNP   Doc 521    Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                              Document     Page 4 of 35
Case 21-16520-JNP   Doc 521    Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                              Document     Page 5 of 35
Case 21-16520-JNP   Doc 521    Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                              Document     Page 6 of 35
Case 21-16520-JNP   Doc 521    Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                              Document     Page 7 of 35
Case 21-16520-JNP   Doc 521    Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                              Document     Page 8 of 35
Case 21-16520-JNP   Doc 521    Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                              Document     Page 9 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 10 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 11 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 12 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 13 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 14 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 15 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 16 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 17 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 18 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 19 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 20 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 21 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 22 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 23 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 24 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 25 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 26 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 27 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 28 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 29 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 30 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 31 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 32 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 33 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 34 of 35
Case 21-16520-JNP   Doc 521 Filed 05/19/22 Entered 05/19/22 16:26:03   Desc Main
                           Document    Page 35 of 35
